Case 1:16-cr-00301-WJM Document 129-2 Filed 02/12/19 USDC Colorado Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 16-cr-00301-WJM

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 2.       WILLIAM J. SEARS,

            Defendant.
 ______________________________________________________________________

                   PRELIMINARY ORDER OF FORFEITURE
 ______________________________________________________________________

          THIS MATTER comes before the Court on the United States= Motion for

 Preliminary Order of Forfeiture pursuant to Rule 32.2 of the Federal Rules of Criminal

 Procedure. The Court having read said Motion and being fully advised in the premises

 finds:

          On November 14, 2016, defendant William J. Sears was charged by Information

 in Count One with conspiracy to defraud the United States and one of its agencies,

 violation of 18 U.S.C. § 371; and with willfully making a false declaration under the

 penalty of perjury, in violation of 26 U.S.C. § 7206(1). (Doc. 43). The Information also

 sought forfeiture against defendant Sears, pursuant to 18 USC § 981(a)(1)(C) and 28

 U.S.C. § 2461 (c), of numerous assets, including a money judgment, that constituted or

 derived from gross proceeds traceable to the commission of the offense charged in

 Count One of the Information or property traceable to such property. (Doc. 43).

          On November 14, 2016, the United States and defendant William Sears entered

                                             1
Case 1:16-cr-00301-WJM Document 129-2 Filed 02/12/19 USDC Colorado Page 2 of 5




 into a Plea Agreement, which provides a factual basis and cause to issue a forfeiture

 order and issue a personal money judgment under 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c) and Rule 32.2 of the Federal Rules of Criminal Procedure. (Doc. 56).

        Defendant William Sears obtained $10,810,916.90 of the 12,204,172.00 in

 FusionPharm, Inc. stock sales proceeds, personally, or through accounts he controlled.

        The requisite nexus exists between the conspiracy to defraud offense to which

 defendant William Sears pleaded guilty, and the following directly traceable assets:

                       1) $27,066.23 in United States currency seized from Wells Fargo
                          Bank Account No. 6020559917, held in the name of Meadpoint
                          Venture Partners;

                       2) $9,455.56 in United States currency seized from Wells Fargo
                          Bank Account No. 7784731577, held in the name of Sandra L.
                          Sears;

                       3) $8,462,621.25 in United States currency seized from Moors and
                          Cabot Trust Account No. 4597-6546, held in the name of
                          Sandra Lee Sears, Tr. Sandra Lee Sears Ttee; and

                       4) $250,000 in United States currency held in lieu of earnest
                          money held on deposit for the purchase of 4200 Monaco Street,
                          Denver, Colorado.

        Defendant William Sears has an interest in the following substitute assets, which

 are subject to forfeiture:

                       a.     $147,724.38 realized from the sale of 13442 Jackson Drive,
                              Thornton, Colorado, 80241; and

                       b.     Any monetary value he realizes in the future from his interest
                              in FusionPharm, Inc.

        Prior to the disposition of the assets, the United States, or its designated sub-

 custodian, is required to seize the forfeited property and provide notice to any third


                                              2
Case 1:16-cr-00301-WJM Document 129-2 Filed 02/12/19 USDC Colorado Page 3 of 5




 parties pursuant to 21 U.S.C. § 853(n).

       THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

       THAT defendant William Sears=s interest in:

                     1) $27,066.23 in United States currency seized from Wells Fargo
                        Bank Account No. 6020559917, held in the name of Meadpoint
                        Venture Partners;

                     2) $9,455.56 in United States currency seized from Wells Fargo
                        Bank Account No. 7784731577, held in the name of Sandra L.
                        Sears;

                     3) $8,462,621.25 in United States currency seized from Moors and
                        Cabot Trust Account No. 4597-6546, held in the name of
                        Sandra Lee Sears, Tr. Sandra Lee Sears Ttee; and

                     4) $250,000 in United States currency held in lieu of earnest
                        money held on deposit for the purchase of 4200 Monaco Street,
                        Denver, Colorado

 is forfeited to the United States in accordance with 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c);

       THAT defendant William Sears’ interest in:

                  a. $147,724.38 realized from the sale of 13442 Jackson Drive,
                     Thornton, Colorado, 80241; and

                  b. Any monetary value he realizes in the future from his interest in
                     FusionPharm, Inc

 is forfeited to the United States in accordance with 21 U.S.C. § 853(p) as substitute

 assets.

       THAT the United States is directed to seize the property subject to forfeiture, and

 further to make its return as provided by law;




                                             3
Case 1:16-cr-00301-WJM Document 129-2 Filed 02/12/19 USDC Colorado Page 4 of 5




        THAT the United States shall publish notice of this Preliminary Order of

 Forfeiture in accordance with Rule G(4)(a)(iv)(C) of the Supplemental Rules for

 Admiralty or Maritime Claims and Asset Forfeiture Actions, via a government website for

 at least thirty consecutive days, and to make its return to this Court that such action has

 been completed;

        THAT upon adjudication of all third-party interests, if any, the Court will enter a

 Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

 and Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, in which all interests

 will be addressed.

        THAT a Personal Money Judgment against defendant William J. Sears in the

 amount of $1,914,049.49 in United States currency shall be entered in accordance with

 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

        THAT pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure,

 upon entry of this Preliminary Order of Forfeiture, the United States Attorney’s Office is

 authorized to conduct any discovery needed to identify, locate or dispose of forfeitable

 property, including depositions, interrogatories, requests for production of documents

 and the issuance of subpoenas, pursuant to Rule 45 of the Federal Rules of Civil

 Procedure.

        THAT Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this

 Preliminary Order of Forfeiture shall become final as to the defendant at the time of

 sentencing and shall be made part of the sentence and included in the judgment.

        THAT the Court shall retain jurisdiction to enforce this Order and adjudicate the


                                              4
Case 1:16-cr-00301-WJM Document 129-2 Filed 02/12/19 USDC Colorado Page 5 of 5




 interests of all third-parties in ancillary proceedings. Fed. R. Crim. P. 32.2(c)(1).

        THAT this Preliminary Order of Forfeiture may be amended pursuant to Rule

 32.2(e)(1) of the Federal Rules of Criminal Procedure.



        SO ORDERED this _________ day of ____________________, 2019


                                     BY THE COURT:


                                     _________________________________
                                     HONORABLE WILLIAM J. MARTÍNEZ
                                     United States District Court Judge




                                               5
